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                 IN THE UNITED STATES DISTRICT COURT

                    FOR THE DISTRICT OF NEW MEXICO




UNITED STATES OF AMERICA,

             Plaintiff-Respondent,

v.                                                  CIV 08-0382 LH/KBM
                                                    CR 04-2400 LH

JOSE GARCIA-CARDENAS,

             Defendant-Movant.




                     PROPOSED FINDINGS
                           AND
                  RECOMMENDED DISPOSITION
      A jury convicted Jose Garcia-Cardenas of possession with intent to distribute

methamphetamine and conspiracy to commit the same. After being sentenced to

235 months in prison, Defendant appealed. The Tenth Circuit affirmed his

sentence and conviction and the Supreme Court of the United States denied

certiorari. See United States v. Garcia-Cardenas, 242 Fed. Appx. 579, 580 (10th

Cir.), cert. denied, 128 S. Ct. 686 (2007). Defendant then filed the present motion

before me seeking habeas relief pursuant to 28 U.S.C. § 2255. See Doc. 1. For the
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reasons stated in the United States’ response, which I incorporate herein by

reference, see Doc. 6, I find the motion is not well-taken and recommend that it be

denied. To that I will set forth a brief summary of my rationale.

      Defendant raises three claims in his § 2255 petition. Two of them are

identical or inextricably linked to claims raised on direct appeal.

      Trial Court’s Comment – Alleged Denial of Due Process. After

pronouncing sentence, the trial judge made a comment distinguishing illegal aliens

who “come to the United States . . . to make an honest living” and from those who

“come up here and try to make a living by transporting such a dangerous poison.”

Garcia-Cardenas, 242 Fed. Appx. at 583; see also Sentencing Transcript at 5. On

direct appeal, counsel raised the issue as a violation of due process. The Tenth

Circuit disagreed, finding that in proper context, the remark did not demonstrate

the district judge sentenced Defendant more harshly because of his alien status.

See Garcia-Cardenas, 242 Fed. Appx. at 583.

      Defendant raises the identical issue here. See Doc. 1 (Memorandum

attached to petition at page 9-10 ; hereinafter “Memo”). However, claims that

have already been addressed by the Tenth Circuit on direct appeal cannot be

relitigated in a § 2255 petition. See, e.g., United States v. Varela-Ortiz, 189 Fed.

Appx. 828, 830 (10th Cir. 2006) (“Because we already disposed of this issue on
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direct appeal, Mr. Varela-Ortiz may not raise it again in a § 2255 petition.”) (citing

United States v. Warner, 23 F.3d 287, 291 (10 th Cir. 1994) and United States v.

Prichard, 875 F.2d 789, 791 (10th Cir. 1989)).

       Failure to Object to Trial Court’s Comment – Alleged Ineffective Assistance

of Counsel. Defendant argues that Judge Hansen’s above-cited remark was

discriminatory and criticizes his lawyer’s failure to object to the comment at the

time it was made, and failure to “competently” argue the claim on direct appeal or

in the brief for certiorari. See Memo at 7. Defendant maintains that those asserted

failures establish that counsel’s “performance was deficient [and] that deficient

performance prejudiced movant’s defense.” Id. at 9.

       Contrary to what Defendant seems to be suggesting, see Memo at 9,

ineffective assistance of counsel claims can be raised for the first time in a § 2255

petition, and are not defaulted for failing to raise them on direct appeal.1

Nonetheless, “[a]lthough cloaked in the guise of an ineffective assistance claim,

this is the same issue decided on direct appeal and cannot be raised again in a

§ 2255 motion.” United States v. Anderson, 17 Fed. Appx. 855, 858 (10th Cir. 2001)

       1
           See, e.g., United States v. Smith, 2008 WL 55996 at *2, n.1 (10th Cir. 2008) (“The rule in
this circuit, then, is that claims of constitutionally ineffective counsel should be brought on
collateral review, in the first petition filed under 28 U.S.C. § 2255. Some rare claims which are
fully developed in the record may be brought either on direct appeal or in collateral proceedings.
No procedural bar will apply to claims which could have been brought on direct appeal but were
brought in post-conviction proceedings instead. United States v. Galloway, 56 F.3d 1239, 1242
(10th Cir. 1995) (en banc); see also Massaro v. United States, 538 U.S. 500, 504-09 (2003).”).
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(citing United States v. Cox, 83 F.3d 336, 342 (10 th Cir. 1996)); see also United States

v. Davis, 406 F.3d 505, 511 (8 th Cir. 2005) (“We find the present claim to be the

same claim in different clothes, and we will not reconsider the issue on collateral

review.”). Thus, the ineffectiveness claims should be rejected for the same reason

as the due process claim above.

      Alternatively, the claims are without merit. Under Strickland v. Washington,

466 U.S. 668 (1984), Defendant must demonstrate that counsel’s conduct was

constitutionally deficient and that but for the conduct, the result of the proceeding

would have been different. Failure to make either showing defeats the claim. E.g.,

Smith v. Robbins, 528 U.S. 259, 286, n.14 (2000); Strickland v. Washington, 466 U.S.

668, 687 (1984); United States v. Orange, 447 F.3d 792, 796-97 & n. 5 (10 th Cir.

2006). The Tenth Circuit’s decision is dispositive of the prejudice prong for

Defendant’s challenge counsel’s trial conduct and appellate conduct.

      Counsel’s failure to challenge the comment during sentencing did not cause

any procedural default of the claim on direct appeal. And, as the Tenth Circuit

held, it is clear from a reading of the sentencing transcript that the Defendant’s

status as an alien did not affect Judge Hansen’s determination as to the appropriate

sentence he ultimately imposed. Thus, addressing the trial court’s comment during

the sentencing hearing would not changed the outcome of the sentence. Nor
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would have any efforts by counsel to argue the issue differently during appeal led to

a different result since the claim in fact was addressed on the merits.

      Failure to Raise Booker Argument – Alleged Ineffective Assistance Of

Counsel. In his motion, Defendant asserts that counsel was ineffective in failing to

raise a Booker issue. See United States v. Booker, 543 U.S. 220 (2005). From the

attached memorandum to Defendant’s motion for habeas relief, it is apparent that

someone, probably a fellow inmate, is helping Defendant pursue this motion.

Unfortunately, this person mistakenly thinks that Judge Hansen solely relied on the

quantity of drugs as found by probation in the presentence report in determining

the applicable sentencing range.

      In fact, however, the 7.727 net kilograms of methamphetamine figure used

by Judge Hansen represents the quantity that the jurors specifically found after

taking into account the purity level of the seized contraband. See U.S. v. Garcia-

Cardenas, CR 04-2400 (Doc. 84, verdict form: “In kilograms, what do you find the

methamphetamine weighed? 8.986.”)2; Presentence Report at ¶ 8 (in calculating

the applicable Guideline range – “net weight of methamphetamine discovered was

8.986 kilograms with a purity of 86%, which results in 7.727 net kilograms of


      2
        See also Verdict Transcript at 3-4 (same and all jurors polled as to
unanimity); Presentence Report at ¶ 2 (“the jury determined that Garcia-Cardenas
was accountable for 8.986 net kilograms of methamphetamine”); Trial Transcript at
19, 226 (U.S. exhibits setting out quantity).
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methamphetamine (actual)”). Arguably Booker would have permitted the higher

quantity found by the jury to have been used in the absence of any finding by the

jury on the purity level, but, in any event, the difference would not have resulted in

a different Guideline range.3

       Wherefore,

       IT IS HEREBY RECOMMENDED that the § 2255 petition be dismissed

with prejudice.

       THE PARTIES ARE FURTHER NOTIFIED THAT WITHIN 10
DAYS OF SERVICE of a copy of these Proposed Findings and Recommended
Disposition they may file written objections with the Clerk of the District Court
pursuant to 28 U.S.C. § 636 (b)(1). A party must file any objections with the
Clerk of the District Court within the ten day period if that party wants to
have appellate review of the proposed findings and recommended disposition.
If no objections are filed, no appellate review will be allowed.




                                           UNITED STATES MAGISTRATE JUDGE



       3
          See U.S. SENTENCING GUIDELINES MANUAL § 2D1.1(c)(1) (2005) (base level of 38 for
“15 KG or more of Methamphetamine, or 1.5 KG or more of Methamphetamine (actual)”; id.,
cmt. B (“The terms PCP (actual), Amphetamine (actual), and Methamphetamine (actual) refer
to the weight of the controlled substance, itself, contained in the mixture or substance. For
example, a mixture weighing 10 grams containing PCP at 50% purity contains 5 grams of PCP
(actual). In the case of a mixture or substance containing PCP, amphetamine, or
methamphetamine, use the offense level determined by the entire weight of the mixture or
substance, or the offense level determined by the weight of the PCP (actual), amphetamine
(actual), or methamphetamine (actual), whichever is greater.”) (emphasis added, internal
quotations omitted).
